                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


JAMES C. MCWHORTER                          )
                                            )
              v.                            )      NO. 3:17-cv-00637
                                            )
                                            )      JUDGE TRAUGER
UNITED STATES OF AMERICA                    )
                                            )

                           MOTION TO SUBSTITUTE COUNSEL

       Comes now the United States of America, by and through the undersigned attorney, and

moves the Court to substitute Assistant United States Attorney S. Carran Daughtrey for Assistant

United States Attorney Jimmie Lynn Ramsaur. In support of this motion, the undersigned

submits that the above-captioned case has been re-assigned to Assistant United States Attorney

S. Carran Daughtrey.

                                                   Respectfully submitted,

                                                   JACK SMITH
                                                   Acting United States Attorney


                                                   s/S. Carran Daughtrey
                                                   S. CARRAN DAUGHTREY
                                                   Assistant United States Attorney
                                                   110 Ninth Avenue South, Suite A-961
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                                CERTIFICATE OF SERVICE

              I certify that a true and correct copy of the foregoing Motion to Substitute

Counsel was sent on May 8, 2017, deposited in the United States Mail to the following:

James C. McWhorter
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                                                    s/S. Carran Daughtrey
                                                    S. CARRAN DAUGHTREY
                                                    Assistant United States Attorney




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